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     EXHIBIT I
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 1                                              Exhibit I:
                        Microsoft’s Proposed Corresponding Structure for Disputed
 2
                                       “Means for Using” Elements
 3

 4        Microsoft’s Proposed                 Intrinsic Evidence Supporting Microsoft’s Proposed
          Corresponding Structure              Corresponding Structure13
 5        For Disputed “Means for
          Using” Elements
 6        (a) a processor, application         ’374 Patent, at 4:58-5:3 (“the decoder decodes the pictures.
          specific integrated circuit          The… decoder can be a processor, application specific integrated
 7        (ASIC), field                        circuit (ASIC), field programmable gate array (FPGA),
          programmable gate array              coder/decoder (CODEC), digital signal processor (DSP), or
 8        (FPGA), coder/decoder                some other electronic device that is capable of encoding the
          (CODEC), or digital signal           stream of pictures…. The term “decoder” will be used to refer
 9
          processor (DSP)                      expansively to all electronic devices that decode digital video
10        performing the algorithm             content comprising a stream of pictures.”).14
          of
11        (b) assembling a decoded             ’374 Patent, at Fig. 8:
          picture using the decoded
12        [smaller
          portions/processing blocks]
13        like bricks in a wall
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19                                             ’374 Patent, at 7:43 – 8:45 (“. . . However, if the pair of
                                               macroblocks (700) is to be encoded in field mode, it is first split
20
                                               into one top field 16 by 16 pixel block (800) and one bottom
21                                             field 16 by 16 pixel block (801), as shown in FIG. 8. The two
                                               fields are then coded separately. In FIG. 8, each macroblock in
22                                             the pair of macroblocks (700) has N=16 columns of pixels and
                                               M=16 rows of pixels.
23
     13
24     Microsoft identifies additional evidence supporting its identified structure for the disputed means elements in
     The Parties’ Joint Cl. Chart, filed on Jan. 6, 2012, at 89-94.
25   14
       MMI cites the same intrinsic evidence in The Parties’ Joint Cl. Chart, filed on Jan. 6, 2012, at 20-21, as is
     shown here.
                                                                                                       LAW OFFICES
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     CLAIM CONSTRUCTION BRIEF - 1                                                            999 THIRD AVENUE, SUITE 4400
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           Microsoft’s Proposed      Intrinsic Evidence Supporting Microsoft’s Proposed
 1         Corresponding Structure   Corresponding Structure13
           For Disputed “Means for
 2
           Using” Elements
 3
                                     Thus, the dimensions of the pair of macroblocks (700) is 16 by
 4                                   32 pixels. As shown in FIG. 8, every other row of pixels is
                                     shaded. The shaded areas represent the rows of pixels in the top
 5                                   field of the macroblocks and the unshaded areas represent the
                                     rows of pixels in the bottom field of the macroblocks. The top
 6                                   field block (800) and the bottom field block (801) can now be
                                     divided into one of the possible block sizes of FIGS. 3a-f. . . .”
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                                                                                     LAW OFFICES
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